          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CIVIL CASE NO. 1:08cv09
                      [Criminal Case No. 1:04cr43-4]


ANGELA HOWELL,              )
                            )
     Petitioner,            )
                            )
      v.                    )             MEMORANDUM OF DECISION
                            )                  AND ORDER
UNITED STATES OF AMERICA, )
                            )
     Respondent.            )
____________________________)

      THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1], the Government’s Motion for Summary Judgment

[Doc. 7], and the Petitioner’s Motion to Supplement U.S.C. §2255 Petition to

Include Recency pursuant to 4A1.1(e) [Doc. 13].

                         PROCEDURAL HISTORY

      On April 5, 2004, the Petitioner and ten co-defendants were charged in

a two count bill of indictment with conspiracy to manufacture and possess with

intent to distribute at least 500 grams of a mixture or substance containing a

detectable amount of methamphetamine and conspiracy to possess

pseudoephedrine, acetone and iodine with intent to manufacture more than



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50 grams of methamphetamine, in violation of 21 U.S.C. §§841(a)(1) & 846.

[Criminal Case No.1:04cr43-4, Doc. 3]. On October 15, 2004, the Petitioner

entered into a Plea Agreement with the Government pursuant to which she

agreed to plead guilty to Count One. [Id., Doc. 98]. In the Agreement, the

Petitioner and the Government agreed to recommend to the Court that the

amount of actual methamphetamine involved in the conspiracy which was

known to or reasonably foreseeable to her was at least 50 grams but less than

150 grams. [Id., at ¶2].      The agreement contained a disclosure that the

statutory minimum and maximum terms to which the Petitioner could be

sentenced were not less than 10 years or more than life imprisonment. [Id.,

at ¶5].

      The Petitioner attended a Rule 11 hearing on October 25, 2004, at

which time she was placed under oath and participated in a lengthy colloquy

with the Magistrate Judge to ensure that she was intelligently and freely

entering her guilty plea. [Id., Doc. 110]. During that colloquy, the Petitioner

told the Court that she had discussed the charge and corresponding penalties

with counsel, she understood those matters, she had taken ample time to

discuss possible defenses with counsel, her attorney had discussed how the

United States Sentencing Guidelines (U.S.S.G.) applied in her case, she

understood the rights that she was relinquishing by virtue of her guilty plea,

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she understood and agreed to the terms of the agreement, she was satisfied

with the services of her attorney, and she was tendering her guilty plea

because she, in fact, was guilty of the offense. [Id., Doc. 110]. Based on the

colloquy and the Petitioner’s answers, the Court concluded that her guilty plea

should be accepted. [Id., at 8-9].      On May 10, 2005, the Petitioner was

sentenced to 151 months imprisonment.1 [Id., Doc. 171].

      The Petitioner timely appealed her case to the United States Fourth

Circuit Court of Appeals, arguing that trial counsel was ineffective for having

failed to challenge a three-point enhancement imposed pursuant to U.S.S.G.

§2D1.1(b)(6)(B) due to a substantial risk of harm to human life and/or the

environment. United States v. Howell, 201 Fed.Appx. 948, 949 (4 th Cir. 2006),

certiorari denied 549 U.S. 1236, 127 S.Ct. 1317, 167 L.Ed.2d 127 (2007).

The Circuit held:

      [T]he presentence report included the information that Howell had
      participated in the manufacturing of methamphetamine at three
      residences and a list of the items and substances seized from
      each of the residences. A partial list of these included:
      automobile brake part cleaner/degreaser containing acetone and
      toluene; Heet automobile gas line antifreeze/de-icer; hydrogen
      peroxide; a gallon of methylethyl ketone; camp fuel; boxes of
      matches; large numbers of allergy tablets; fifty-nine ounces of
      iodine; two eighteen-ounce containers of lye; a gallon of muriatic
      acid; and red phosphorous. Howell and Barry McCoyle, a co-

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       The Petitioner was sentenced by Judge Thornburg who has since retired. Her
case has been reassigned to the undersigned.

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       conspirator who manufactured methamphetamine with Howell,
       gave statements after their arrest. McCoyle stated that, after
       methamphetamine was manufactured, the leftover liquids were
       usually poured down the washing machine drain and the rest of
       the trash was taken to the dump. He said that, on one occasion
       in 2002, when he and co-conspirator Andy Coleman made
       methamphetamine, the trash was burned in the back yard.
       Howell stated that, on another occasion when Coleman made
       methamphetamine at McCoyle’s parents’ home, the waste
       materials were poured out next to the driveway.

       The dangers of methamphetamine laboratories to human life are
       well-documented.      Moreover, the record in Howell’s case
       established that the conspirators released hazardous materials
       into the environment. Consequently we cannot say that the
       record conclusively demonstrates that Howell’s attorney was
       ineffective in failing to challenge the enhancement under
       §2D1.1(b)(6)(B).

Id. The Petitioner’s conviction and sentence were affirmed. Id.

       On January 3, 2008, the Petitioner timely filed this motion to vacate.2

In support of the motion, the Petitioner raises the following claims of

ineffective assistance of counsel: (1) failure to investigate and challenge the

quantities and types of methamphetamine (actual versus mixture); (2) failure

to object to the inclusion of her personal use quantity of methamphetamine in

the final drug quantity; and (3) failure to move for a downward departure on


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         The Petitioner’s conviction became final for purposes of triggering the one-year
limitations period applicable to §2255 when the petition for a writ of certiorari in the
Supreme Court was denied on February 4, 2007. Clay v. United States, 537 U.S. 522,
123 S.Ct. 1072, 155 L.Ed.2d 88 (2003) (“Finality attaches ... when this Court affirms a
conviction on the merits on direct review or denied a petition for a writ of certiorari, or
when the time for filing a certiorari petition expires.”).

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the basis of sexual abuse that she suffered as a child and due to the need for

her to care for her brother.

       On November 15, 2010, the Petitioner filed a motion to supplement in

order to add a claim for relief pursuant to U.S.S.G. Amendment 742. [Doc.

13].



                           STANDARD OF REVIEW

       At the time the pending motion for summary judgment was filed,

Federal Rule of Civil Procedure 56 provided in pertinent part:

       When a motion for summary judgment is properly made and
       supported, an opposing party may not rely merely on allegations
       or denials in its own pleading; rather, its response must–by
       affidavits or as otherwise provided in this rule–set out specific
       facts showing a genuine issue for trial. If the opposing party does
       not so respond, summary judgment should, if appropriate, be
       entered against that party.

Fed. R. Civ. P. 56(e)(2) (2008).3

       Under the Federal Rules of Civil Procedure, summary judgment
       shall be awarded “if the pleadings, depositions, answers to
       interrogatories, and admissions on file, together with the affidavits,
       ... show there is no genuine issue as to any material fact and that
       the moving party is entitled to a judgment as a matter of law.”
       Fed.R.Civ.P. 56(c). As the Supreme Court has observed, “this
       standard provides that the mere existence of some alleged factual
       dispute between the parties will not defeat an otherwise properly

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       Rule 56 was amended effective December 1, 2010. The substance of the
standard as it applies to this case was not changed by the amendment.

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      supported motion for summary judgment; the requirement is that
      there be no genuine issue of material fact.”

Bouchat v. Baltimore Ravens Football Club, Inc., 346 F.3d 514, 519 (4 th Cir.

2003), certiorari denied 541 U.S. 1042, 124 S.Ct. 2171, 158 L.Ed.2d 732

(2004) (emphasis in original).

      A party opposing a properly supported motion for summary
      judgment “may not rest upon the mere allegations or denial of
      [his] pleadings,” but rather must “set forth specific facts showing
      that there is a genuine issue[.]”            Furthermore, neither
      “[u]nsupported speculation,” nor evidence that is “merely
      colorable” or “not significantly probative,” will suffice to defeat a
      motion for summary judgment; rather, if the adverse party fails to
      bring forth facts showing that “reasonable minds could differ” on
      a material point, then, regardless of “[a]ny proof or evidentiary
      requirements imposed by the substantive law,” “summary
      judgment, if appropriate, shall be entered.”

Id.



                                 DISCUSSION

      The Supreme Court has stated the test for determining whether a

defendant received adequate assistance of counsel.

      First, the defendant must show that counsel's performance was
      deficient. This requires showing that counsel made errors so
      serious that counsel was not functioning as the "counsel"
      guaranteed the defendant by the Sixth Amendment. Second, the
      defendant must show that the deficient performance prejudiced
      the defense. This requires showing that counsel's errors were so
      serious as to deprive the defendant of a fair trial, a trial whose
      result is reliable.

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Strickland v. Washington, 466 U.S. 668, 686, 104 S.Ct. 2052, 80 L.Ed.2d 674

(1984).

      Unless a defendant makes both showings, his claim of ineffective

assistance of counsel must fail. Id. Thus, a defendant must show counsel's

performance fell below objective standards of reasonableness, and, that but

for his conduct, there was a reasonable probability that a reasonable

defendant in the petitioner’s situation would not have pleaded guilty but would

have insisted on going to trial. Id., at 688; Bustos v. White, 521 F.3d 321 (4 th

Cir. 2008) (applying Strickland standard to defendant who entered plea

agreement) (citations omitted). When there is an allegation that counsel was

ineffective at sentencing, a petitioner must show that his “sentence would

have been more lenient absent counsel’s errors.” Royal v. Taylor, 188 F.3d

239, 248-49 (4 th Cir. 1999), certiorari denied 528 U.S. 1000, 120 S.Ct. 465,

145 L.Ed.2d 379 (1999).

      In reviewing claims of ineffective assistance of counsel, “[j]udicial

scrutiny of counsel’s performance must be highly deferential.” Strickland, 466

U.S. at 689. Indeed, the Court must make “every effort . . . to eliminate the

distorting effects of hindsight,” operating, instead with “a strong presumption

that counsel’s conduct falls within the wide range of reasonable professional

assistance.” Id. A petitioner bears the burden of proving Strickland prejudice

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and if he fails to do so “a reviewing court need not consider the performance

prong.” Fields v. Attorney Gen. of State of Md., 956 F.2d 1290, 1297 (4 th Cir.

1992), certiorari denied 506 U.S. 885, 113 S.Ct. 243, 121 L.Ed.2d 176 (1992).

         The Petitioner’s first complaint is that her attorney failed to investigate

properly and challenge the amount and type of methamphetamine for which

she was held responsible. Although she pled guilty to Count One, which

charged conspiracy to manufacture with intent to distribute at least 500 grams

of   a       mixture   or   substance   containing   a   detectable     amount     of

methamphetamine, the Petitioner agreed in the plea agreement to

recommend the conspiracy’s involvement with at least 50 grams but less than

150 grams of actual methamphetamine.              In allowing her to do so, the

Petitioner claims her attorney rendered ineffective assistance.

         As noted, the indictment charged in Count One that the Petitioner

conspired to manufacture and to possess with intent to distribute at least 500

grams of methamphetamine mixture.4 That quantity of methamphetamine

mixture subjected the Petitioner to a statutory mandatory minimum sentence

of ten years imprisonment. 21 U.S.C. § 841(b)(1)(A)(viii) (2004). The same

statute provides for a mandatory minimum sentence of ten years



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      Count Two charged her with conspiracy to possess precursors with intent to
manufacture more than 50 grams of actual methamphetamine.

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imprisonment for a conspiracy involving 50 grams of more of actual

methamphetamine. 21 U.S.C. § 841(b)(1)(A)(viii) (2004). In other words,

whether the Petitioner was attributed with the charged quantity of a

methamphetamine mixture or the quantity of the actual methamphetamine as

set out in the plea agreement, she faced the same statutory minimum

sentence of ten years. As noted in the plea agreement, regardless of the

parties’ recommendation to the Court concerning drug quantities, any

statutory minimum sentence must be applied.

      The Sentencing Guidelines in effect at the time of the Petitioner’s

sentence    prescribed   the    same   offense   level   to    500   grams    of

methamphetamine mixture as to 50 grams of actual methamphetamine.

U.S.S.G. § 2D1.1(4) (2004) (conviction involving at least 500 grams but less

than 1.5 kilograms of methamphetamine mixture yields offense level 32;

conviction involving at least 50 grams but less than 150 grams of actual

methamphetamine yields offense level 32). Therefore, the Petitioner’s guilty

plea and acknowledgment of involvement with at least 50 grams but less than

150 grams of actual methamphetamine did not expose her to a higher

sentence than she would have faced for pleading guilty to Count One which

charged her with responsibility for 500 grams of methamphetamine mixture.

Id.

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      The Fourth Circuit noted, in ruling on the Petitioner’s appeal, that she

admitted to authorities after her arrest that she had been involved with the

conspiracy which manufactured methamphetamine at three different

residences. Howell, 201 Fed.Appx. at 949. During her Rule 11 hearing and

again at sentencing, the Petitioner acknowledged that her presentence report

provided a factual basis for her guilty plea. United States v. Randall, 171 F.3d

195, 211 (4 th Cir. 1999) (where court relies on information in presentence

report, defendant bears burden of establishing information is incorrect;

objections are insufficient).    The report contains references to numerous

individuals who told authorities they had purchased methamphetamine, both

actual and mixture, from the Petitioner and her co-conspirator McCoyle.

[Criminal Case No. 1:04cr43, Doc. 314]. James Morgan told the authorities

that he purchased 3.5 grams of actual methamphetamine from the Petitioner

and McCoyle about three times per week for five months in 2001. [Id., at 7-8].

Based on this information alone, the Petitioner’s sentencing calculations

would have included at least 54.9 grams of actual methamphetamine thus

exposing her to the mandatory minimum sentence of ten years.

      During a search of the Petitioner’s home on August 4, 2004, authorities

discovered containers holding a total of 990 grams of methamphetamine

mixture, a container holding 1.7 grams of actual methamphetamine, and

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precursor materials which would have yielded another 4.7 grams of actual

methamphetamine. [Id., at 9-10]. Based on this information, additional grams

of actual methamphetamine could have been included in the Petitioner’s

offense level calculation. Moreover, the 990 grams of methamphetamine

mixture found during that search was alone sufficient to trigger the mandatory

minimum sentence of ten years.

      The evidence of drug quantities with which the conspiracy was involved

far surpassed the amount to which the Petitioner pled guilty. [Criminal Case

No. 1:04cr43, Doc. 314, at 10]. Indeed, the probation officer noted that her

“accountability would have been greater” but nonetheless used the quantity

to which the parties stipulated in the plea agreement. [Id.]. As a result of the

negotiation by the Petitioner’s attorney of the quantities contained within the

plea agreement, the Petitioner’s guideline range decreased from 188 to 235

months (Offense Level 34/Criminal History Category III) to 151 to 188 months

(Offense Level 32/Criminal History Category III). As a result, the Petitioner

has not shown that counsel rendered ineffective assistance or that she was

in any manner prejudiced as a result of the drug quantities contained within

the plea agreement. Moreover, in view of the larger quantities attributable to

the conspiracy, the Petitioner cannot show that a reasonable defendant in her

situation would have insisted on going to trial or that she would have received

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a lower sentence had counsel challenged the drug calculations.

        The Petitioner’s next assignment of error is that her attorney should

have sought the exclusion of the amounts of methamphetamine which she

used to sustain her addiction. The Petitioner, however, has not advised what

quantity should be attributed to personal use and the sentencing Court in any

event would not have been obligated to accept that amount. United States v.

Johnson, 63 Fed.Appx. 152 (4 th Cir. 2003) (noting sentencing court did not err

in declining to reduce the quantity of heroin attributable to defendant based

on his assertion that half of the heroin he possessed was for his personal

use).

        Moreover, U.S.S.G. §1B1.3(a)(2) provides that the sentencing court is

to take into consideration only that conduct “which was part of the same

course of conduct or common scheme or plan as the offense of conviction.”

The offense of conviction here is a conspiracy to manufacture with intent to

possess and distribute methamphetamine. Manufacturing methamphetamine

for personal use was part of the same course of conduct as the offense of

conviction; conspiracy. United States v. Pauley, 289 F.3d 254, 261 (4 th Cir.

2002), opinion modified on other grounds 304 F.3d 335 (4 th Cir. 2002),

certiorari denied 537 U.S. 1178, 123 S.Ct. 1007, 154 L.Ed.2d 925 (2003) (“We

need not decide today whether drugs possessed for personal use should be

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considered relevant conduct in sentencing for possession with intent to

distribute because the district court’s finding that Pauley possessed the entire

quantity with intent to distribute was not clearly erroneous.”).

      Though not yet addressed in the Fourth Circuit, many other Circuit
      Courts of Appeals [that] have addressed this issue concluded that
      “when a defendant is convicted of drug distribution, ordinarily a
      district court should exclude from the total drug quantity any
      amount possessed for his personal consumption.” ... The Court
      believes that [this] distinction does not make a difference when
      Defendant is a member of a drug conspiracy. While “[p]urchases
      by an addict or casual user for personal use may not
      automatically make one a member of a conspiracy to distribute,”
      when the evidence establishes that there is a conspiracy in which
      the Defendant is a member, then the “[D]efendant’s purchases for
      personal use are relevant in determining the quantity of drugs that
      the defendant knew were distributed by the conspiracy.”

United States v. George, 2010 WL 1779961 **2 (E.D.Va. 2010), quoting

United States v. Innamorati, 996 F.2d 456, 492 (1 st Cir. 1993), certiorari

denied 510 U.S. 112-, 114 S.Ct. 1073, 127 L.Ed.2d 391 (1994) (other citations

omitted); accord, United States v. Iglesias, 535 F.3d 150, 160 (3 rd Cir. 2008),

certiorari denied 129 S.Ct. 2813, 174 L.Ed.2d 307 (2009) (“Nothing in the

Guidelines suggests that drugs a defendant earmarks for his personal use

should be deducted from the total quantity involved in a conspiracy” and

noting every circuit to address the issue has held the entire quantity handled

is relevant conduct); United States v. Fraser, 243 F.3d 473, 474-75 (8 th Cir.

2001); United States v. Page, 232 F.3d 536, 542 (6 th Cir. 2000), certiorari

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denied 532 U.S. 1056, 121 S.Ct. 2202, 149 L.Ed.2d 1032 (2001); United

States v. Asch, 207 F.3d 1238, 1243-44 (10 th Cir. 2000); United States v.

Antonietti, 86 F.3d 206, 209-10 (11 th Cir. 1996).

      The Petitioner does not dispute the overwhelming evidence of her

involvement in this conspiracy. [Criminal Case No. 1:04cr43, Doc. 314, at 9

(in 2004 four confidential informants advised authorities of her continued

m etham phetam ine-m aking,       describing     her    as      an   experienced

methamphetamine cook who had taught numerous people how to make the

drug and that she made it on nearly a daily basis)]. Indeed, the Petitioner pled

guilty to that involvement. Her attorney did not provide ineffective assistance

by failing to seek the exclusion of methamphetamine manufactured or

possessed within the context of the conspiracy for her personal use.

      The Petitioner’s last claim is that her attorney should have sought a

downward departure based on her sexual abuse as a child and her brother’s

illness.

      The Petitioner states that the abuse she suffered as a child by her uncle

caused her to use drugs to escape her depression and panic attacks.

U.S.S.G. §5H1.3 provides that a defendant’s mental and emotional conditions

are not ordinarily relevant in determining whether a departure is warranted.

The Petitioner’s history of sexual abuse and her depression and anxiety

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disorders do not rise to the level required for an exception to this general

principle.

      [I]n order to qualify for a departure under [§5H1.3] a defendant
      must be suffering from something greater than “emotional
      problems” or “hardship.” A defendant must also demonstrate that
      his or her “significantly reduced mental capacity” bears a causal
      relationship to the crime. This causal connection must consist of
      more than an emotional weakness that leaves one open to
      suggestion. Rather, in order to qualify for a diminished capacity
      departure, a defendant must show an inability “to process
      information or to reason.”

United States v. Withers, 100 F.3d 1142, 1147-48 (4 th Cir. 1996), certiorari

denied 510 U.S. 1132, 117 S.Ct. 1282, 137 L.Ed.2d 358 (1997).

      Here, the Petitioner’s evidence shows nothing more than depression

and anxiety attacks. [Criminal Case No. 1:04cr43, Doc. 314, at 17]. Her

voluntary use of methamphetamine precludes any such departure. Withers,

supra., citing U.S.S.G. §5K2.13. Moreover, the evidence shows that she was

fully capable of participating in a long-term and wide-ranging conspiracy

pursuant to which she manufactured methamphetamine. Id. There is no

evidence that her mental and emotional conditions rendered her unable to

reason or process information. Id.; accord, United States v. Dyches, 257

Fed.Appx. 694 (4 th Cir. 2007); United States v. DeBeir, 186 F.3d 561, 569 (4 th

Cir. 1999) (“Except under truly extraordinary circumstances, prisons exist for

those who commit crimes, not just for tough criminals”). Thus, because the

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Petitioner cannot show that she was entitled to such a departure, her attorney

was not ineffective in failing to pursue it. United States v. Dale, 11 F.3d 1160

(4 th Cir. 1998).

      U.S.S.G. §5H1.6 provides that family ties and responsibilities are not

ordinarily relevant in determining whether a downward departure may be

warranted. The Petitioner admits that her brother’s condition has deteriorated

during her incarceration. Indeed, there is no mention in the presentence

report of any illness by a brother. [Criminal Case No. 1:04cr43, Doc. 314, at

16 (describing one half-brother ten years older than the Petitioner)]. Implicit

in this is an admission that at the time of her sentencing, his condition would

not have warranted such a departure. Elliott v. United States, 332 F.3d 753,

768 (4 th Cir. 2003), certiorari denied 540 U.S. 991, 124 S.Ct. 487, 157 L.Ed.2d

388 (2003) (“a departure on the basis of family responsibilities is ‘permitted

only upon a finding that the defendant’s family ties or responsibilities are

extraordinary.’”). In what manner her attorney could have been ineffective

under that circumstance is not shown.

      Even if the Petitioner’s brother had been as seriously ill at the time of

sentencing as he is now, a departure would not have been available. In the

Fourth Circuit, a downward departure based on family ties and responsibilities

is a “discouraged” factor. United States v. Stone, 85 Fed. Appx. 925, 940 (4 th

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Cir. 2004), certiorari denied 542 U.S. 943, 124 S.Ct. 2922, 159 L.Ed.2d 823

(2004), citing Koon v. United States, 518 U.S. 81, 96, 116 S.Ct. 2035, 135

L.Ed.2d 392 (1996).

      Where a factor is discouraged, “the court should depart only if the
      factor is present to an exceptional degree or in some other way
      makes the case different from the ordinary case where the factor
      is present.” [The Fourth Circuit] has previously determined that a
      departure based on family responsibilities is “permitted only upon
      a finding that the defendant’s family ties or responsibilities are
      extraordinary.” “Generally, a sentencing court may depart
      downward on this basis only if it finds that the defendant is
      essentially ‘irreplaceable.’”

Id. (citations omitted). The Petitioner has not shown that, at the time of

sentencing, she was essentially “irreplaceable.” Elliott, 332 F.3d at 769. The

exhibits submitted by the Petitioner in support of this claim actually show, to

the contrary, that her brother is currently receiving family and community

support. Id. As a result, she has not shown an exceptional circumstance. Id.;

United States v. McClatchey, 316 F.3d 1122, 1133 (10 th Cir. 2003) (reversing

downward departure for defendant based on being primary caregiver for his

son because nothing in record “suggest[ed] that another individual could not

provide the necessary assistance in [defendant’s] absence”); United States

v. Sweeting, 213 F.3d 95, 104 (3 rd Cir. 2000), certiorari denied 531 U.S. 906,

121 S.Ct. 249, 148 L.Ed.2d 180 (2000) (reversing downward departure based

on defendant’s responsibilities for child with Tourette’s Syndrome); United

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States v. Bell, 974 F.2d 537, 538 (4 th Cir. 1992) (even the possible destruction

of a family caused by the extended incarceration of the family’s sole earner

was not extraordinary); United States v. Rybicki, 96 F.3d 754, 759 (4 th Cir.

1996) (illness of family members, by itself, not extraordinary).

      Thus, to the extent that the Petitioner’s counsel could be considered

deficient for failing to move for a downward departure based on family ties and

responsibilities, the Petitioner cannot establish any prejudice because Fourth

Circuit case law clearly establishes that any such departure would have been

unavailable and erroneous.

      On November 15, 2010, the Petitioner moved to supplement her motion

based on Amendment 742 to U.S.S.G. §4A1.1 which became effective on

November 1, 2010. That amendment eliminates the “recency” provision from

the Guidelines for a defendant who committed the offense of conviction within

two years from either release from prison or while on escape from a sentence

of imprisonment. U.S.S.G. Manual, Supp. To App. C (2010). Petitioner,

however, received only one recency point in the computation of her criminal

history. [Criminal Case No. 1:04cr43, Doc. 314, at 11]. Even if this point were

to be deducted, she would still have five criminal history points, which would

still leave her within Criminal History Category III, which is the category in

which she was sentenced. Application of Amendment 742 would make no

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difference in that sentence.

       The amendment would not be available to the Petitioner in any event.

Section 1B1.10 of the Guidelines provides for a sentence reduction for a

defendant whose guideline range is subsequently lowered as a result of an

amendment to the guidelines “listed in subsection (c).” U.S.S.G. §1B1.10(a).

Thus, an amendment to the guidelines may not be applied retroactively unless

it is listed in U.S.S.G. §1B1.10(c). United States v. McHan, 386 F.3d 620, 622

(4 th Cir. 2004). The “Sentencing Commission voted to delete the ‘recency’

provision from the Guidelines, effective November 1, 2010.” United States v.

Mitchell, 2010 WL 4069520 **2 (2 nd Cir. 2010).                However, “[w]ithout an

express decision by the Sentencing Commission to make its changes

retroactive, the mere existence of an amendment that alters a Guideline

provision going forward does not render the applicable Guideline substantively

unreasonable.” Id. “The amendment to section 4A1.1 that was effective on

November 1, 2010, was Amendment 742. Amendment 742 is not listed in

section 1B1.10(c).” United States v. Alonso, 2010 WL 4609855 **1. As a

result, the amendment is not retroactive.5

       The Court has considered the Petitioner’s motion, any attached exhibits,


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        The Petitioner erroneously concludes that her sentence is not final until a ruling
is rendered on this pending motion. As previously noted, her sentence became final
ninety days after the Fourth Circuit ruled on her appeal.

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and the record of the prior proceedings. The Court finds that the Petitioner is

not entitled to relief and therefore the motion must be dismissed. The Court

further finds that the Petitioner has not made a substantial showing of a denial

of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S.

322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy §

2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong)

(citations omitted). As a result, the Court declines to issue a certificate of

appealability. Rule 11(a), Rules Governing Section 2255 Proceedings for the

United States District Courts.



                                    ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s Motion under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] is hereby DENIED.

      IT IS FURTHER ORDERED that the Government’s Motion for Summary

Judgment [Doc. 7] is hereby GRANTED and this action is hereby DISMISSED

with prejudice.

      IT IS FURTHER ORDERED that the Petitioner’s Motion to Supplement

U.S.C. §2255 Petition to Include Recency pursuant to 4A1.1(e) [Doc. 13] is

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hereby DENIED as moot.

                                    Signed: February 28, 2011




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